Case 1:08-mj-00087-UNA Document7 Filed 05/09/2008 Page1 0f1

OFFICE OF THE CLERK

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DISTRICT OF DELAWARE

PETER T. DALLEO LOCKBOX 18
C|erk 844 KING STREET
WILMINGTON, DE 19801
(302) 573-6170

May 9, 2008

Raymond M. Radulski, Esq.
1225 North King Street
Suite 301

Legal Arts Building
Wilmington, DE 19801

RE : U. S .A. V. COURTNEY MURRAY
Magistrate Case No. 08-87-1

Dear Mr. Radulski:

Enclosed is a copy of the Court's order appointing you counsel
under the Criminal Justice Act in the above criminal case. This
appointment requires representation of the defendant for all
proceedings in this Court. When the proceedings in this Court are
completed, the attached voucher should be submitted to this office
within 45 days for approval of payment. Please complete box 21,
Case Disposition, using the Case Disposition Codes provided.

lf an appeal is taken in this matter the Court of Appeals will
generally appoint you to represent the defendant for the appellate
proceedings. The Clerk of the 3rd Circuit Court of Appeals will
issue another CJA voucher for service rendered in their Court. If
the Notice of Appeal is filed and you wish to withdraw as counsel,
please address said motion to the Clerk, 3rd Circuit Court of
Appeals.

Sincerely,

PETER 'I`. DALLEO, CLERK

BY:
Deputy Clerk
PTD/bkb
enclosure

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